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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                        Plaintiffs,                               4:13CR3057
       vs.
                                                       MEMORANDUM AND ORDER
SCOTT USHER, ROBIN USHER,
                        Defendants.


       This matter is before the court on Defendant Robin Usher’s Motion to Sever her trial
from that of her co-defendant, Scott Usher, (Filing No. 34). For the reasons set forth below
the motion is denied.


                                        BACKGROUND


       Defendants Scott and Robin Usher, husband and wife, are named in a five-count
indictment charging each with one count of conspiracy to commit wire fraud and four
substantive counts of wire fraud. (Filing No. 1).   The indictment alleges Scott Usher held
himself out as an inventor who had designed valuable pieces of technology capable of,
among other things, operating center pivot irrigation systems with solar power and
inexpensively desalinating sea water.


       The indictment alleges that Scott Usher solicited money from investors and lenders
through intentional misrepresentations. Specifically, Scott Usher allegedly represented to
potential investors and lenders that certain individuals, companies, and governments were
interested in purchasing the right to use certain technologies.           Further, he allegedly
represented that investors and lenders would receive significant profits. The indictment
alleges Scott Usher’s representations about meeting with government leaders, foreign
dignitaries, and other well-known individuals were entirely fabricated.
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       The indictment also charges Robin Usher with conspiracy, alleging she executed
documents establishing a number of businesses that were purportedly created to market Scott
Usher’s technologies, represented that Scott Usher was attending or did attend meetings with
foreign officials, and participated in the conversion of alleged victims’ money to purposes
unrelated to the Ushers’ businesses.


       As part of the government’s investigation, law enforcement officers conducted a non-
custodial interview of Scott Usher. An attorney was present for Scott Usher. Robin Usher
was also present. Robin Usher only minimally participated in the interview and she did not
answer any questions directly. During the interview, Scott Usher admitted he did not meet
with, or even know, many of the individuals he had previously represented were interested in
his technologies. Scott Usher also admitted to using funds from investors for his personal
expenses.


       Scott and Robin Usher initially appeared before the court on June 6, 2013 and based
upon the Final Progression Order, (Filing No. 26), were originally scheduled for a joint trial
on March 21, 2014. The trial was later continued pending the resolution of several pretrial
motions, including Robin Usher’s motion to sever her trial from Scott Usher’s trial. (Filing
No. 34).


       An evidentiary hearing on Robin Usher’s Motion to Sever was held on May 15, 2014.
At that hearing, counsel for Robin Usher proffered a statement reflecting the substance of
Scott Usher’s anticipated testimony if the trials were severed and he testified on her behalf.
Robin Usher offered a CD recording of the police interview of Scott Usher.


       At the hearing, the United States elicited testimony from Special Agent Michael W.
Maseth, who was present during the interview. He confirmed that none of the admissions
made by Scott Usher included or mentioned Robin Usher. And Robin Usher made no
incriminating statements.



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                                         ANALYSIS


       Generally, persons charged in a conspiracy or jointly indicted on similar evidence
should be tried together. U.S. v. Lewis, 557 F.3d 601, 609 (8th Cir. 2009); United States v.
Brown, 331 F.3d 591, 595 (8th Cir. 2003). Even when joinder is proper under Rule 8,
pursuant to Rule 14 of the Federal Rules of Criminal Procedure, a judge may order severance
if joinder at trial will prejudice the defendant. U.S. v. Lewis, 557 F.3d 601, 609 (8th Cir.
2009); United States v. Wadena, 152 F.3d 831, 849 (8th Cir. 1998). Rule 14 provides:


       If it appears that a defendant or the government is prejudiced by a joinder of
       offenses or of defendants in an indictment or information or by such joinder
       for trial together, the court may order an election or separate trials of counts,
       grant a severance of defendants or provide whatever other relief justice
       requires. In ruling on a motion by a defendant for severance the court may
       order the attorney for the government to deliver to the court for inspection in
       camera any statements or confessions made by the defendants which the
       government intends to introduce in evidence at the trial.

Fed.R.Crim.P. 14.


       When defendants are properly joined, there is a strong presumption for a joint trial
because it affords the jury the best perspective on all of the evidence, thereby increasing the
likelihood of a correct outcome. Lewis, 557 F.3d at 609. This presumption can only be
overcome if the prejudice is Asevere or compelling.@ United States v. Crumley, 528 F.3d
1053, 1063 (8th Cir.2008).    A[A] defendant must show >real prejudice,= that is, >something
more than the mere fact that [s]he would have had a better chance for acquittal had [s]he
been tried separately.=@   United States v. Mickelson, 378 F.3d 810, 817 (8th Cir. 2004)
(quoting United States v. Oakie, 12 F.3d 1436, 1441 (8th Cir. 1993) (citing United States v.
Adkins, 842 F.2d 210, 211-12 (8th Cir.1988)).




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       A defendant seeking severance has the heavy burden of demonstrating that a joint
trial will impermissibly infringe on her right to a fair trial. United States v. Baker, 98 F.3d
330, 340 (8th Cir. 1996).


       Joint trials of defendants indicted together are generally conducted because
       they promote efficiency and the interests of justice, Zafiro v. United States,
       506 U.S. 534, 538, 113 S.Ct. 933, 122 L.Ed.2d 317 (1993), but Rule 14
       permits severance if “it appears that a defendant or the government is
       prejudiced by the joinder.” Fed.R.Crim.P. 14. Severance is appropriate “only if
       there is a serious risk that joint trial would compromise a specific trial right of
       one of the defendants, or prevent the jury from making a reliable judgment
       about guilt or innocence.” Zafiro, 506 U.S. at 539, 113 S.Ct. 933. It is not an
       abuse of discretion to deny a severance motion when not every joined
       defendant has participated in every offense charged, Delpit, 94 F.3d at 1143-
       44, when evidence which is admissible only against some defendants may be
       damaging to others, id., or when there is varying strength in the evidence
       against each defendant. United States v. Dierling, 131 F.3d 722, 734 (8th
       Cir.1997).

United States v. Lee, 374 F.3d 637, 646 (8th Cir. 2004).


       In this case, Robin Usher argues she cannot receive a fair trial if she is tried with Scott
Usher. Specifically she argues that evidence admissible against Scott Usher would not
otherwise be admissible against her and, as a result, Robin Usher will be prejudiced.
Through briefing and the evidentiary hearing, Robin Usher has expressed several specific
concerns relating to the admissibility of some evidence and the inadmissibility of other
evidence. Those specific concerns are addressed below.


       Evidence from attorney Lee Merritt.


       Attorney Lee Merritt served as Scott Usher’s legal counsel and assisted him with
creating several business entities for Scott Usher’s use in developing, marketing and selling
his technologies. Merritt later became an investor and an alleged victim of the conspiracy
alleged in this case. Law enforcement officers interviewed Merritt and the government has


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obtained at least some of the communications between Merritt and Scott Usher. See Filing
No. 36-10.


       Robin Usher asserts that although she signed many of the documents establishing the
business entities and/or served as an officer for some or all of the entities, she lacked
knowledge of the communications between Merritt and Scott Usher and only performed
ministerial functions for the businesses. She argues that if communications between Scott
Usher and Merritt are admissible against Scott Usher, she will be prejudiced.


       As explained in United States v. Yielding, 657 F.3d 688, 705-07 (8th Cir. 2011),
federal law governs the admissibility of Scott Usher/Lee Merritt communications.

       In the absence of a relevant federal rule, statute, or constitutional provision,
       federal common law governs questions of privilege in federal criminal
       proceedings. Fed.R.Evid. 501; United States v. Espino, 317 F.3d 788, 795 (8th
       Cir.2003). “The attorney-client privilege is the oldest of the privileges for
       confidential communications known to the common law.” Upjohn Co. v.
       United States, 449 U.S. 383, 389, 101 S.Ct. 677, 66 L.Ed.2d 584 (1981). This
       privilege protects confidential communications between a client and her
       attorney made for the purpose of facilitating the rendition of legal services to
       the client. United States v. Horvath, 731 F.2d 557, 561 (8th Cir.1984). The
       privilege belongs to and exists solely for the benefit of the client. Henderson v.
       United States, 815 F.2d 1189, 1192 (8th Cir.1987).

Yielding, 657 at 705-07.


       The attorney-client privilege is not absolute. For instance, where the attorney acts as
a scrivener or a business advisor; or where the client consults the lawyer to “further a
continuing or contemplated criminal or fraudulent scheme” the privilege is either lost or does
not attach. United States v. Horvath, 731 F.2d 557, 561-62 (8th Cir. 1984); see also United
States v. Spencer, 700 F.3d 317, 320-21 (8th Cir. 2012)(citing Horvath for the proposition
that an attorney serving as a business advisor is not rendering legal services).




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       In this case, the government will undoubtedly argue Merritt may testify because of
one of the exceptions to the attorney-client privilege noted above.1 If Merritt agrees to testify
on behalf of the government, Robin Usher will have the opportunity to either depose Merritt
or subject him to cross-examination regarding his contact, if any, with Robin Usher.


       Even if the attorney-client privilege applies and Merritt is prevented from testifying at
a joint trial, the type of testimony Robin Usher would elicit from Merritt would likely not be
subject to attorney-client protection. That is, if she seeks to have Lee Merritt confirm that he
did not represent Robin Usher, and that Robin Usher did not meet with him and was not
present for any substantive communications with Scott Usher, these statements are neither
privileged nor otherwise protected as confidential. See, e.g., In re Grand Jury Proceedings
(85 Misc. 140), 791 F.2d 663, 665 (8th Cir. 1986)(the identity of one’s client and matters
existing in the public eye are generally not confidential communications).


       Lastly, there is no guarantee Scott Usher would be willing to waive the attorney-
client privilege if the trials are severed. This is particularly true if Robin Usher’s trial
proceeds before Scott Usher’s trial. Thus, to the extent the attorney-client privilege attached
to communications between Scott Usher and Merritt, and Robin Usher seeks to elicit
testimony on the protected subject matter, there is no guarantee Scott Usher will waive the
privilege even if the trials are severed.


       In short, the court does not believe Robin Usher has provided sufficient evidence to
demonstrate the testimony, or lack thereof, by Lee Merritt will create prejudice to Robin
Usher necessitating a severance of her trial.




       1
         If the statements Scott Usher made to Merritt are admissible and the government meets its
burden of proving the existence of a conspiracy, those statements may also be admissible against
Robin Usher. “Coconspirator statements are properly admitted if the government proves by a
preponderance of the evidence that (1) a conspiracy existed; (2) both the declarant and the defendant
were members of the conspiracy; and (3) the declarant made the statement in the course and in
furtherance of the conspiracy.” United States v. Arias, 252 F.3d 973, 977 (8th Cir. 2001).

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       Interview of Scott Usher.


       Under Bruton v. United States, 391 U.S. 123 (1968), where one codefendant
implicates another codefendant in a pretrial confession and that confession is admissible at
trial, severance of the codefendants trials is necessary.


       In Bruton, the Supreme Court held that in a trial where two or more defendants
       are tried jointly, the admission of a nontestifying codefendant's confession that
       expressly implicates the defendant violates the defendant's Sixth Amendment
       confrontation rights, even if the district court gave the jury limiting
       instructions to consider the confession only against the codefendant who
       confessed. Id. at 126, 88 S.Ct. at 1622–23; United States v. Escobar, 50 F.3d
       1414, 1422 (8th Cir.1995) (applying Bruton). However, “[i]f a codefendant's
       confession does not incriminate the defendant on its face, but does so only
       when linked to additional evidence, it may be admitted if a limiting instruction
       is given to the jury and the defendant's name is redacted from the confession.”
       Flaherty, 76 F.3d at 972 (citing Richardson v. Marsh, 481 U.S. 200, 211, 107
       S.Ct. 1702, 1709, 95 L.Ed.2d 176 (1987)). Furthermore, Bruton does not apply
       at all when a codefendant's statements do not incriminate the defendant either
       on their face or when considered with other evidence. Escobar, 50 F.3d at
       1422

United States v. Melina, 101 F.3d 567, 569-70 (8th Cir. 1996)(abrogated on other grounds).


       Robin Usher asserts her presence at the law enforcement interview of Scott Usher –
during which he made certain admissions regarding false representations made to investors
and lenders – warrants severance of their trials.   Having reviewed the video recording of the
interview in full and reviewing the corresponding transcript of the interview the court does
not share Robin Usher’s concerns.


       Scott Usher does not make any statements implicating Robin Usher or suggesting any
bad intent on her part. His admissions involved statements such as:




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      AGENT MASETH: So when, when did you meet Rex Tillerson2?

      SCOTT USHER: Okay, so I not only thought that I had met Rex Tillerson. I
      thought that I met hundreds of people. . . .

      ...

      SCOTT USHER: Absolutely. Uh there were hundreds. Literally there were
      hundreds and hundreds and hundreds of people. If I saw someone on the news
      or Lee said someone to me or anyone made reference to me at all ... I. I
      thought that I knew them.

      AGENT MASETH: Okay and you had meetings with them?

      SCOTT USHER: Absolutely.

      ...

      SCOTT USHER: It, it dep---it depended. Like when I thought I was with the
      president. Sometimes I would see the president on TV and I thought the
      president was talking to me. If I thought I was uhm on conference calls and
      stuff, sometimes I would just be sitting just staring out the window. But I
      thought I was on a conference call.

      AGENT MASETH: Okay. And at the same time, so, but you're still drawing a
      paycheck. Right?

      SCOTT USHER: Absolutely.

      AGENT MASETH: You're taking money.

      SCOTT USHER: Absolutely.

      AGENT MASETH: From the investors who have put money into your
      company . . .

      SCOTT USHER: I didn't know I was delusional. . . .

Filing No. 46-1 at CM/ECF pp. 37 & 40.



      2
         Rex Tillerson is the Chairman and Chief Executive Officer of Exxon Mobil
Corporation.

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       Scott Usher admitted to lying to investors and lenders about people he met and about
famous or important people who he claimed were interested in his various technologies and
companies. He also admitted to using money from his corporations for personal expenses.
There is no admission by Scott Usher that he intended to deceive potential investors or
lenders or that he made misrepresentations for the purpose of soliciting additional funds from
investors or lenders.    He never associated Robin Usher with his admissions about the
misrepresentations he made to investors and/or lenders. That is, he never claimed Robin
Usher played any part in duping the investors and lenders. Simply put, Scott Usher’s
statements neither directly incriminated Robin Usher, nor could they be used to incriminate
her when considered with other evidence.3


       Robin Usher worries her mere presence, and silence, at the interview will create
prejudice and her case will be tainted. Any such concerns can be alleviated with a limiting
jury instruction, instructing the jury not to attribute any statements made by Scott Usher in
the interview to Robin Usher. See Zafrino, 506 U.S. at 539.


       Testimony of Scott Usher.


       Finally, Robin Usher asserts that if the trials are severed, she could call Scott Usher as
a witness and he would provide exculpatory testimony on her behalf. Robin Usher must
demonstrate that she would call Scott Usher as a witness at the separate trial, that he would
testify, and that his testimony would be substantially exculpatory. See United States v.
Oakie, 12 F.3d 1436, 1441 (8th Cir. 1993); United States v. Voss, 787 F.2d 393, 401 (8th
Cir. 1986). To be substantially exculpatory, “the testimony must do more than merely tend to
contradict a few details of government's case.” United States v. Darden, 70 F.3d 1507, 1527


       3
         Even if Scott Usher had expressly incriminated Robin Usher during the interview, those
statements would likely be admissible against her as adoptive admissions and would not be
excludible under Bruton. See United States v. Schroeder, 433 F.2d 846, 850 (8th Cir. 1970); see also
United States v. Kehoe, 310 F.3d 579, 591 (8th Cir. 2002). Additionally, if the government meets
its burden of establishing a conspiracy, any statement incriminating Robin Usher would
likely be admissible. Fed. R. Evid. 801(d)(2)(E).

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(8th Cir. 1995)(internal citations omitted).         Conclusory statements, without supporting
foundation and facts, cannot provide the substantially exculpatory evidence needed to
support a motion for severance. Mickelson, 378 F.3d at 817 (holding severance was not
warranted where, had the cases been tried separately, a co-defendant would have testified
“there was no conspiracy or agreement to manufacture methamphetamine”).


       Robin Usher’s request for severance, based on the potential testimony of Scott Usher,
creates logistical problems. That is, if Robin Usher’s trial proceeds prior to Scott Usher’s, he
undoubtedly will not testify on her behalf as he would be subject to rigorous cross-
examination by the United States, with his testimony later used against him at his own trial.
Likewise, even if Scott Usher’s trial proceeds before Robin Usher’s, there is no guarantee he
would testify on her behalf, particularly if he is dissatisfied with the results of his trial and is
considering or decides to appeal.


       It is not clear that any testimony elicited from Scott Usher will exculpate Robin
Usher. At the motion hearing, Scott Usher’s attorney read Scott Usher’s written responses to
several questions posed by Robin Usher’s attorney.             Based on the responses to these
questions, Scott Usher would testify that Robin Usher asked how much money the businesses
were generating or would generate, but she did not know the specific details about the
finances of the businesses; she met with investors and lenders only socially; and Scott Usher
never told her that many of the alleged meetings were not taking place.


       This information cannot be considered substantially exculpatory. Robin Usher need
not have a detailed knowledge of the alleged artifices to participate in the conspiracy and be
found guilty on the counts in the indictment. The fact that she only met with investors and
lenders in social settings is not exculpatory in and of itself. To the contrary, the government
states Robin Usher made misrepresentations during social events; including falsely stating
she met with Chinese officials during a dinner with investors or potential investors at a
restaurant in Lincoln, Nebraska.



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        Scott Usher cannot testify as to what Robin Usher knew or suspected. He may be
able to explain what he told her about the alleged meetings, but even if he never told Robin
Usher the alleged meetings were fiction, this testimony is not, in and of itself, substantially
exculpatory. The fact that Scott Usher was the party concocting the stories about meeting
foreign dignitaries and famous people may assist Robin Usher’s defense, but it is not
sufficiently exculpatory as to justify severance. See United States v. Taylor, 253 F.3d 1115,
1116 (8th Cir. 2001) (holding severance was not required even though a son’s joint trial with
his father prohibited the son from introducing evidence of his father’s out-of-court statement
implicating the father and a cousin, not the father and the son, as the masterminds of a bank
fraud conspiracy). Scott Usher’s testimony may contradict details about the government’s
case. For example, he may testify that he did not hear Robin lie about any meetings, while
the government claims Robin Usher did lie to others about attending meetings. But evidence
which merely contradicts details of the government’s case is not considered substantially
exculpatory. See Oakie, 12 F.3d at 1441.


        Based upon the proffered testimony of Scott Usher, the court finds there is no
guarantee he would testify at a separate trial. And even if Scott Usher did testify on behalf of
Robin Usher during a separate trial, this testimony would not be substantially exculpatory as
to Robin Usher. Thus, under the evidence presented, the fact that Scott Usher’s testimony
will not be available if the Robin and Scott Usher are tried together does not warrant severing
their trials.


        Accordingly,


        1)      Defendant Robin Usher’s Motion to Sever her trial from that of her co-
                defendant, Scott Usher, (Filing No. 34), is denied.


        2)      The jury trial of this case is set to commence before John M. Gerrard, United
                States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
                Nebraska, at 9:00 a.m. on July 14, 2014, or as soon thereafter as the case may

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                  be called, for a duration of four (4) trial days. Jury selection will be held at
                  the commencement of trial.


         June 4, 2014.

                                                                  BY THE COURT:
                                                                  s/ Cheryl R. Zwart
                                                                  United States Magistrate Judge




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